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                        UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF UTAH


 Crystal Lagoons U.S. Corp.;
 Crystal Lagoons Technologies, Inc.,                      Civil No. 2:19-cv-00796-BSJ
        Plaintiffs,                                   Cloward H2O LLC’s Answer and
                                                    Counterclaims in Response to Plaintiffs’
 v.
                                                         Second Amended Complaint
 Cloward H2O LLC,
                                                          District Judge Bruce S. Jenkins
        Defendant.




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                                           ANSWER

       Defendant Cloward H2O LLC (“Cloward H2O”) hereby answers the allegations of, and

asserts defenses to the purported claims asserted in the Second Amended Complaint

(“Complaint”; Docket No. 39) filed on June 1, 2020, on behalf of Plaintiffs Crystal Lagoons U.S.

Corp. and Crystal Lagoons Technologies Inc. (collectively, “Crystal Lagoons”), as follows:

                                    I.      THE PARTIES 1

       1.   Cloward H2O admits on information and belief that Crystal Lagoons U.S. Corp. is a

Delaware corporation. Cloward H2O lacks knowledge or information sufficient to form a belief

about the remaining allegations of paragraph no. 1 of the Complaint, and therefore denies them.

       2.   Cloward H2O admits on information and belief that Crystal Lagoons Technologies,

Inc. is a Delaware corporation. Cloward H2O lacks knowledge or information sufficient to form

a belief about the remaining allegations of paragraph no. 2 of the Complaint, and therefore

denies them.

       3.   Cloward H2O admits that its principal place of business is located at 2696 University

Avenue, Suite 290, Provo, Utah 84604. Cloward H2O denies the remaining allegations of

paragraph no. 3 of the Complaint.

                                    II.    JURISDICTION

       4.   Cloward H2O admits that the Complaint purports to set forth a claim for patent

infringement under the patent laws of the United States. Cloward H2O denies that Crystal




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  For ease of reference, Cloward H2O includes in its answer the same headings that are used by
Crystal Lagoons in its Second Amended Complaint, but by doing so Cloward H2O does not
admit either (a) that any of the information conveyed by the headings is necessarily accurate, or
(b) any liability or wrongdoing by Cloward H2O.


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Lagoons has statutory standing to bring this action for patent infringement of the asserted patent,

including at the time of filing the original complaint.

     5.      Cloward H2O admits that this Court has subject matter jurisdiction over patent

infringement actions. Cloward H2O denies that Crystal Lagoons has statutory standing to bring

this action for patent infringement of the asserted patent, including at the time of filing the

original complaint.

     6.      Cloward H2O admits that it is subject to the personal jurisdiction of this Court.

     7.      Cloward H2O admits that this District is the proper venue for a patent infringement

claim against it. Cloward H2O denies that Crystal Lagoons has statutory standing to bring this

action for patent infringement of the asserted patent, including at the time of filing the original

complaint.

                                 III.    PATENT OWNERSHIP

     8.      Cloward H2O admits that the United States Patent and Trademark Office issued U.S.

Patent No. 8,062,514 (“’514 Patent”) and that the ’514 Patent purports to claim priority to U.S.

patent application no. 11/819,017 and application no. 3225-2006 filed in Chile.

     9.      Cloward H2O admits that the assignment records of the United States Patent and

Trademark Office reflect a purported assignment of the ’514 Patent to Crystal Lagoons

(Curacao) B.V. dated March 8, 2013. Cloward H2O lacks knowledge or information sufficient to

form a belief about the truth or accuracy of the remaining allegations of paragraph no. 9 of the

Complaint, and on that basis denies them.




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      10. Cloward H2O lacks knowledge or information sufficient to form a belief about the

truth or accuracy of the allegations of paragraph no. 10 of the Complaint, and on that basis

denies them.

      11. Cloward H2O lacks knowledge or information sufficient to form a belief about the

truth or accuracy of the allegations of paragraph no. 11 of the Complaint, and on that basis denies

them.

      12. Cloward H2O lacks knowledge or information sufficient to form a belief about the

truth or accuracy of the allegations of paragraph no. 12 of the Complaint, and on that basis

denies them.

      13. Cloward H2O lacks knowledge or information sufficient to form a belief about the

truth or accuracy of the allegations of paragraph no. 13 of the Complaint, and on that basis

denies them.

      14. Cloward H2O lacks knowledge or information sufficient to form a belief about the

truth or accuracy of the allegations of paragraph no. 14 of the Complaint, and on that basis

denies them.

      15. Cloward H2O lacks knowledge or information sufficient to form a belief about the

truth or accuracy of the allegations of paragraph no. 15 of the Complaint, and on that basis

denies them.

IV.     BACKGROUND OF CONVENTIONAL SWIMMING POOLS AND CRYSTAL
             LAGOONS’ INNOVATIVE LAGOON TECHNOLOGY

      16. Cloward H2O denies that the accused structure uses any patented technology of the

’514 Patent. Cloward H2O lacks knowledge or information sufficient to form a belief about the




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truth or accuracy of the remaining allegations of paragraph no. 9 of the Complaint, and on that

basis denies them.

     17. Cloward H2O admits that Figure 4 purports to show an annotated photograph of

pools at the Hard Rock Hollywood Hotel and Casino. Cloward H2O denies and disputes the

characterization of those pools in the annotations and allegations of paragraph no. 17 of the

Complaint. Cloward H2O denies that the accused structure uses Crystal Lagoons’ technology or

any patented technology of the ’514 Patent. Cloward H2O denies the remaining allegations of

paragraph no. 17 of the Complaint.

     18. Cloward H2O denies the allegations of paragraph no. 18 of the Complaint.

                     V.      STRUCTURE PATENT INFRINGEMENT

     19. Cloward H2O admits that Crystal Lagoons purported patent infringement claim

relates to the ’514 Patent and does not assert infringement of any other patent. Cloward H2O

denies that other patents are not relevant to the interpretation of the scope of the ’514 Patent.

Cloward H2O denies the remaining allegations of paragraph no. 19 of the Complaint.

     20. Cloward H2O denies the allegations of paragraph no. 20 of the Complaint.

     21. The claims of the ’514 Patent are set forth in the ’514 Patent, and Cloward H2O

denies that the claims of the ’514 Patent should be interpreted without reference to the

specification and prosecution history of the ’514 Patent and related patents. Cloward H2O denies

any remaining allegations of paragraph no. 21 of the Complaint.

     21.1. Cloward H2O denies the allegations of paragraph no. 21.1 of the Complaint.

     21.2. Cloward H2O denies the allegations of paragraph no. 21.2 of the Complaint.

     21.3. Cloward H2O denies the allegations of paragraph no. 21.3 of the Complaint.



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     21.4. Cloward H2O denies the allegations of paragraph no. 21.4 of the Complaint.

     21.5. Cloward H2O denies the allegations of paragraph no. 21.5 of the Complaint.

     21.6. Cloward H2O denies the allegations of paragraph no. 21.6 of the Complaint.

     21.7. Cloward H2O denies the allegations of paragraph no. 21.7 of the Complaint.

     22. Paragraph No. 22 of the Complaint simply recites “NOTE 1: Walls,” which is not an

allegation. Cloward H2O denies the allegations of paragraph no. 22 of the Complaint, if any.

     22.1. Cloward H2O admits that the references photos show a plastic liner. Cloward H2O

           denies that the photos show a plastic liner used in a way that infringes the ’514

           Patent, and Cloward H2O denies that it made, used, sold, or imported the plastic liner

           shown in the photographs. Cloward H2O denies the remaining allegations of

           paragraph no. 22 of the Complaint.

     22.2. Cloward H2O denies the allegations of paragraph no. 22.2 of the Complaint.

     22.3. Cloward H2O denies the allegations of paragraph no. 22.3 of the Complaint.

     22.4. Cloward H2O denies the allegations of paragraph no. 22.4 of the Complaint.

     22.5. Cloward H2O denies the allegations of paragraph no. 22.5 of the Complaint.

     22.6. Cloward H2O denies the allegations of paragraph no. 22.6 of the Complaint.

     22.7. Cloward H2O denies the allegations of paragraph no. 22.7 of the Complaint.

     23. Cloward H2O denies the allegations of paragraph no. 23 of the Complaint.

     23.1. Cloward H2O denies the allegations regarding the interpretation of the ’514 Patent in

           of paragraph no. 23.1 of the Complaint. Cloward H2O lacks knowledge or

           information sufficient to form a belief about the truth or accuracy of the remaining

           allegations of paragraph no. 23.1 of the Complaint, and on that basis denies them.



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     23.2. Cloward H2O denies the allegations of paragraph no. 23.2 of the Complaint.

     23.3. Cloward H2O denies the allegations of paragraph no. 23.3 of the Complaint.

     23.4. Cloward H2O denies the allegations of paragraph no. 23.4 of the Complaint.

     24. Paragraph No. 24 of the Complaint simply recites “NOTE 2: Skimmers,” which is not

an allegation. Cloward H2O denies the allegations of paragraph no. 24 of the Complaint, if any.

     24.1. Cloward H2O denies the allegations of paragraph no. 24.1 of the Complaint because,

             among other things, it cannot determine the authenticity of Figure 16.

     24.2. Cloward H2O denies the allegations of paragraph no. 24.2 of the Complaint.

     25. Paragraph No. 25 of the Complaint simply recites “NOTE 3: Pumping System,”

which is not an allegation. Cloward H2O denies the allegations of paragraph no. 25 of the

Complaint, if any.

   25.1. Cloward H2O denies the allegations of paragraph no. 25.1 of the Complaint.

   25.2. Cloward H2O denies the allegations of paragraph no. 25.2 of the Complaint.

                       VI.     WATER TREATMENT TECHNOLOGY

     Cloward H2O denies the unnumbered allegation that “WHAT CLOWARD BUILT IS

SOMETHING THEY HAVE NEVER BUILT BEFORE, AND IT IS NOT A SWIMMING POOL

LIKE THE ONES THEY BUILT IN THE VICINITY OF THE LAGOON.”

     26. Cloward H2O admits that traditional swimming pool filtration technologies include,

but are not limited to, filtration systems that filter the entire volume of water. Cloward H2O

denies the remaining allegations of paragraph no. 26, including its subparts (1) and (2), of the

Complaint.

     27. Cloward H2O denies the allegations of paragraph no. 27 of the Complaint.



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     28. Cloward H2O denies infringement of any of Crystal Lagoons’ patents and denies the

allegations of paragraph no. 28 of the Complaint.

     29. Cloward H2O denies that its plans give rise to any legitimate suspicion of patent

infringement and denies the allegations of paragraph no. 29 of the Complaint.

     30. Cloward H2O admits that inlets introduce water into the swimming lake. Cloward

H2O denies the remaining allegations of paragraph no. 30 of the Complaint.

     31. Cloward H2O admits that, to the best of its knowledge, the swimming lake was built

according to its plans. Cloward H2O denies the remaining allegations of paragraph no. 31 of the

Complaint.

     32. Cloward H2O denies the allegations of paragraph no. 32 of the Complaint.

     33. Cloward H2O denies the allegations of paragraph no. 33 of the Complaint.

     34. Cloward H2O denies the allegations of paragraph no. 34 of the Complaint.

     35. Cloward H2O denies that the swimming lake was designed for or requires the use of

flocculants. Cloward H2O lacks information sufficient to admit or deny the conduct of third

parties not under Cloward H2O’s control. Cloward H2O denies the remaining allegations of

paragraph no. 35 of the Complaint.

     36. Cloward H2O denies the allegations of paragraph no. 35 of the Complaint.

     37. Cloward H2O lacks information sufficient to admit or deny the conduct of Crystal

Lagoons in which it was not involved. Cloward H2O denies the remaining allegations of

paragraph no. 37 of the Complaint.




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     38. Cloward H2O lacks knowledge or information sufficient to form a belief about the

truth or accuracy of the allegations of paragraph no. 38 of the Complaint, and on that basis

denies them.

     39. Cloward H2O denies the allegations of paragraph no. 39 of the Complaint.

   VII.    IMPORTANCE AND VALUE OF CRYSTAL LAGOONS TECHNOLOGY

     40. Cloward H2O denies the allegations of paragraph no. 40 of the Complaint.

     41. Cloward H2O lacks knowledge or information sufficient to form a belief about the

truth or accuracy of the allegations of paragraph no. 41 of the Complaint, and on that basis

denies them.

     42. Cloward H2O lacks knowledge or information sufficient to form a belief about the

truth or accuracy of the allegations of paragraph no. 42 of the Complaint, and on that basis

denies them.

     43. Cloward H2O denies the allegations of paragraph no. 43 of the Complaint.

     44. Cloward H2O denies the allegations of paragraph no. 44 of the Complaint.

     45. Cloward H2O denies the allegations of paragraph no. 45 of the Complaint, due at

least to the vagaries of the terminology used in paragraph no. 45.

     46. Cloward H2O denies the allegations of paragraph no. 46 of the Complaint.

     47. Cloward H2O denies the allegations of paragraph no. 47 of the Complaint.

     48. Cloward H2O denies that there is anything new or innovative about Crystal Lagoons’

maintenance. Cloward H2O lacks knowledge or information sufficient to form a belief about the

truth or accuracy of the remaining allegations of paragraph no. 48 of the Complaint, and on that

basis denies them.



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     49. Cloward H2O denies the allegations of paragraph no. 49 of the Complaint.

     50. Cloward H2O denies that there is anything new or innovative about Crystal Lagoons’

maintenance. Cloward H2O lacks knowledge or information sufficient to form a belief about the

truth or accuracy of the remaining allegations of paragraph no. 50 of the Complaint, and on that

basis denies them.

     51. Cloward H2O denies the allegations of paragraph no. 51 of the Complaint.

     52. Cloward H2O lacks knowledge or information sufficient to form a belief about the

truth or accuracy of the allegations of paragraph no. 52 of the Complaint, and on that basis

denies them.

     53. Cloward H2O lacks knowledge or information sufficient to form a belief about the

truth or accuracy of the allegations of paragraph no. 53 of the Complaint, and on that basis

denies them.

     54. Cloward H2O lacks knowledge or information sufficient to form a belief about the

truth or accuracy of the allegations of paragraph no. 54 of the Complaint, and on that basis

denies them.

      VIII. DIRECT AND INDUCED INFRINGEMENT OF THE ’514 PATENT
                         (STRUCTURE PATENT)

     With respect to the unnumbered allegation that “CLOWARD WAS THE CREATOR OF

THE PLANS AND TECHNICAL SPECIFICATIONS THAT ALLOWED FOR THE

CONSTRUCTION OF THE HARD ROCK LAGOON,” Cloward H2O admits that it provided

engineering plans for the accused swimming lake. Cloward H2O denies all allegations of

infringement of the ’514 Patent. Cloward H2O denies that remaining allegations of this

unnumbered allegation of the Complaint.


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     55. Cloward H2O denies the allegations of paragraph no. 55 of the Complaint.

     56. Cloward H2O denies the allegations of paragraph no. 56 of the Complaint.

     57. Cloward H2O admits that it was the aquatic engineer for the accused swimming lake.

Cloward H2O denies all allegations of infringement of the ’514 Patent. Cloward H2O denies the

remaining allegations of paragraph no. 57 of the Complaint.

     58. Cloward H2O admits that it provided engineering designs for the accused swimming

lake. Cloward H2O denies all allegations of infringement of the ’514 Patent. Cloward H2O

denies the remaining allegations of paragraph no. 58 of the Complaint.

     59. Cloward H2O admits that its website states the following: “We specialize in all things

water. Our team’s dedicated attention touches every aspect of a project, starting with the planning

stages and powering through to final implementation and maintenance.” Cloward H2O denies

the remaining allegations of paragraph no. 59 of the Complaint.

     60. Cloward H2O denies the allegations of paragraph no. 60 of the Complaint.

     61. Cloward H2O denies the allegations of paragraph no. 61 of the Complaint.

     62. Cloward H2O denies the allegations of paragraph no. 62 of the Complaint.

     63. Cloward H2O admits that it was an engineer for the accused swimming lake and that

it provided engineering plans and drawings therefor. Cloward H2O also admits that it did not

construct the accused swimming lake but rather that the accused swimming lake was constructed

by others. Cloward H2O denies all allegations of infringement of the ’514 Patent. Cloward H2O

denies the remaining allegations of paragraph no. 63 of the Complaint.

     64. Cloward H2O denies the allegations of paragraph no. 64 of the Complaint.

     65. Cloward H2O denies the allegations of paragraph no. 65 of the Complaint.



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     66. Cloward H2O denies the allegations of paragraph no. 66 of the Complaint.

     67. Cloward H2O denies the allegations of paragraph no. 67 of the Complaint.

     68. Cloward H2O admits that its name appears on its plans for the accused swimming

lake. Cloward H2O denies all allegations of infringement of the ’514 Patent. Cloward H2O

denies the remaining allegations of paragraph no. 68 of the Complaint.

     69. Cloward H2O denies the allegations of paragraph no. 69 of the Complaint.

     70. Cloward H2O denies the allegations of paragraph no. 70 of the Complaint.

     71. Cloward H2O denies the allegations of paragraph no. 71 of the Complaint.

     72. Cloward H2O denies the allegations of paragraph no. 72 of the Complaint.

     73. Cloward H2O denies the allegations of paragraph no. 73 of the Complaint.

     74. Cloward H2O admits to the content of its plans as state in the plans themselves and in

their proper context. Cloward H2O denies the remaining allegations of paragraph no. 74 of the

Complaint.

               IX.   DAMAGES AND HARM TO PLAINTIFFS FROM THE
                      DIRECT AND INDUCED INFRINGEMENT

     75. Cloward H2O denies the allegations of paragraph no. 75 of the Complaint.

     76. Cloward H2O denies the allegations of paragraph no. 76 of the Complaint.

     77. Cloward H2O denies the allegations of paragraph no. 77 of the Complaint.

     78. Cloward H2O denies the allegations of paragraph no. 78 of the Complaint.

     79. Cloward H2O lacks knowledge or information sufficient to form a belief about the

truth or accuracy of the allegations of paragraph no. 79 of the Complaint, and on that basis

denies them.

     80. Cloward H2O denies the allegations of paragraph no. 80 of the Complaint.


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      81. Cloward H2O denies the allegations of paragraph no. 81 of the Complaint.

      82. Cloward H2O denies the allegations of paragraph no. 82 of the Complaint.

      83. Cloward H2O denies the allegations of paragraph no. 83 of the Complaint.

      84. Cloward H2O denies the allegations of paragraph no. 84 of the Complaint.

      85. Cloward H2O denies the allegations of paragraph no. 85 of the Complaint.

                               X.     REQUEST FOR RELIEF

      Cloward H2O is not required, under Rule 8, to respond to the relief requested in the

Complaint. Nonetheless, to the extent that any of the statements or assertions under that heading

may be deemed to allege any factual or legal entitlements to the relief requested, Cloward H2O

denies each and every such allegation, and specifically denies that Crystal Lagoons is entitled to

the request, or any, relief.

                                     GENERAL DENIAL

      Cloward H2O denies any and all allegations in the Complaint that are not specifically

admitted in Cloward H2O’s answer and responses above.

                                       JURY DEMAND

      Cloward H2O demands trial by jury of all issues so triable.

             ADDITIONAL, AFFIRMATIVE, AND AVOIDANCE DEFENSES

      Without admitting or acknowledging what must be alleged by way of affirmative or

avoidance defenses or that Cloward H2O bears the burden of proof as to any of the defenses set

forth herein; Cloward H2O alleges the following as additional, affirmative, or avoidance

defenses to the Complaint, the purported claims therein, and the relief sought therein.




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                            First Defense—Failure to State a Claim

     The Complaint fails to state a claim against Cloward H2O upon which relief can be

granted.

                              Second Defense—Non-Infringement

     Cloward H2O has not infringed, either literally, contributorily or under the doctrine of

equivalents, or contributed to infringement by others, or actively induced others to infringe the

’514 Patent.

                                Third Defense—Failure to Mark

     Crystal Lagoons is precluded from recovering any damages arising from Cloward H2O’s

alleged infringement before the filing and service of the Complaint due to the failure of Crystal

Lagoons to give proper notice pursuant to 35 U.S.C. § 287.

                             Fourth Defense—Waiver and Estoppel

     Crystal Lagoons, by its own conduct and omissions, are estopped from asserting, and have

waived any claim for, any alleged wrongful or improper conduct on the part of Cloward H2O.

                                 Fifth Defense—Unclean Hands

     Crystal Lagoons’ claims are barred, in whole or in part, by their own unclean hands.

                                     Sixth Defense—Laches

     Crystal Lagoons’ claims fail, in whole or in part, by the doctrine of laches.

                        Seventh Defense—Prosecution History Estoppel

     Crystal Lagoons’ claims of patent infringement against Cloward H2O are barred in whole

or in part by the doctrines of prosecution history estoppel or prosecution disclaims, ensnarement,

or claim vitiation.




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                          Eighth Defense—Lack of Statutory Standing

     Crystal Lagoons’ lacks statutory standing to bring patent infringement claims on the ’514

Patent, including a lack of statutory standing at the time of filing the original complaint.

                                  Ninth Defense—Patent Misuse

     Crystal Lagoons claims are barred because of its own patent misuse.

                                    Tenth Defense—Invalidity

     The claims of the ’514 Patent are invalid for failure to satisfy one or more of the

requirements of Sections 100, 101, 102, 103, and 112 of Title 35 of the United States Code.

                    Eleventh Defense—No Entitlement to Injunctive Relief)

     Crystal Lagoons is not entitled to injunctive relief under 35 U.S.C. § 283.

                             Twelfth Defense—Inequitable Conduct

     The ’514 Patent is unenforceable due to inequitable conduct committed during the

prosecution of the ’514 Patent or its related patents before the United States Patent and

Trademark Office.

                                         Further Defenses

     In addition to the defenses set forth above, Cloward H2O reserves the right to raise, assert,

rely upon, or add any new or additional defenses under Rule 8(c), the laws of the United States,

the laws of Utah, or any other governing jurisdictions that may exist or in the future be

applicable based on discovery and further factual investigation in this Action, and reserves the

right to amend any and all defenses set forth above as discovery proceeds.




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                                       COUNTERCLAIMS

      Counterclaimant Crystal Lagoons brings these counterclaims against Plaintiffs Crystal

Lagoons U.S. Corp. and Crystal Lagoons Technologies Inc. (collectively, “Crystal Lagoons”) as

follows:

      1.        This action arises and is brought under the Declaratory Judgement Act, 28 U.S.C.

§§ 2201–2202 and seeks a declaration that Cloward H2O does not infringe the ’514 Patent and

that the ’514 Patent is invalid.

      2.        Cloward H2O is an Alaskan limited liability company with its principal place of

business in Provo, Utah.

      3.        Cloward H2O alleges on information and belief that Crystal Lagoons U.S. Corp.

is a Delaware corporation.

      4.        Cloward H2O alleges on information and belief that Crystal Lagoons

Technologies, Inc. is a Delaware corporation.

      5.        This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331, 1338, 2201–02, and 35 U.S.C. § 101 et seq.

      6.        This Court has personal jurisdiction over Crystal Lagoons at least by virtue of

Crystal Lagoons’ election to file suit in this District.

      7.        Venue is proper pursuant to at least 28 U.S.C. § 1391.

      8.        Crystal Lagoons’ Complaint alleges that Cloward H2O infringes the ’514 Patent.

      9.        Cloward H2O denies any alleged patent infringement of the’514 Patent.




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                   FIRST COUNTERCLAIM
 DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF THE ’514 PATENT

     10.       Cloward H2O hereby realleges and incorporates the forgoing paragraphs of the

Counterclaims as if set forth in full hereat.

     11.       Cloward H2O has not infringed and does not infringe, either literally or under the

doctrine of equivalents, any valid and enforceable asserted claim of the ’514 Patent.

     12.       Cloward H2O has not infringed and does not infringe, either contributorily, by

inducement, or in any other manner, any valid and enforceable asserted claim of the ’514 Patent.

     13.       An actual and justiciable controversy exists between Crystal Lagoons and

Cloward H2O regarding Crystal Lagoons’ allegations that Cloward H2O infringes the ’514

Patent.

     14.       Cloward H2O is entitled to a declaration of this Court stating that it has not

infringed and does not infringe the ’514 Patent in any manner whatsoever.

     15.       Cloward H2O additionally seeks any further relief deemed appropriate by this

Court pursuant to 28 U.S.C. § 2202.

                        SECOND COUNTERCLAIM
          DECLARATORY JUDGMENT OF INVALIDITY OF THE ’514 PATENT

     16.       Cloward H2O hereby realleges and incorporates the forgoing paragraphs of the

Counterclaims as if set forth in full hereat.

     17.       Each of the asserted claims of the ’514 Patent is invalid for failure to comply with

the requirements of patentability, including those set forth in 35 U.S.C. §§ 101, 102, 103,

and/or 112.




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     18.       An actual justiciable controversy exists between Crystal Lagoons and Cloward

H2O regarding the validity of the ’514 Patent.

     19.       Cloward H2O is entitled to a declaration of this Court stating that the asserted

claims of the ’514 Patent are invalid.

     20.       Cloward H2O additionally seeks any further relief deemed appropriate by this

Court pursuant to 28 U.S.C. § 2202.

                                         JURY DEMAND

     Pursuant to Rule 38, Cloward H2O demands trial by jury of all issues so triable, whether

presented by Crystal Lagoons’ claims against Cloward H2O, Cloward H2O’s Counterclaims

against Crystal Lagoons, or otherwise.

                                    PRAYER FOR RELIEF

     WHEREFORE, Cloward H2O requests relief as follows:

     A.    That Cloward H2O take nothing by the Complaint;

     B.    A declaration that Cloward H2O does not infringe, induce infringement, or

           contributorily infringe any valid and enforceable claim of the’514 Patent;

     C.    A declaration that Crystal Lagoons’ asserted claims from the ’514 Patent are invalid;

     D.    A declaration that Crystal Lagoons’ claims are meritless and exceptional;

     E.    An award of Cloward H2O’s costs of suit, attorney’s fees, and expenses in defending

           against this suit; and

     F.    Such other and further relief as this Court shall deem just and proper.




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Dated: June 15, 2020.                 Respectfully Submitted,

                                      M ASCHOFF B RENNAN

                                 By: /s/ Jared J. Braithwaite
                                     Jared J. Braithwaite
                                     Daniel R. Barber
                                     Alexis K. Juergens

                                      Attorneys for Defendant Cloward H2O LLC




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